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                    UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF LOUISIANA


IN RE:
REALLOTMENT OF MAGISTRATE 3 CASES



                            GENERAL ORDER

     As a result of the recent confirmation and elevation of the

Honorable Dana M. Douglas, formerly Magistrate Judge of this

court, to the United States Court of Appeals for the Fifth

Circuit and in accordance with this Court’s Order of December

20, 2022, Magistrate 3 cases are hereby reallotted to the

Magistrate Judge sections indicated on the attachment to this

order.

     New Orleans Louisiana, this _____
                                  22nd day of December 2022.



                                       ___________________________
                                       NANNETTE JOLIVETTE BROWN
                                       CHIEF JUDGE
                                       UNITED STATES DISTRICT COURT
